Case: 2:97-cr-00167-JLG-EPD Doc #: 547 Filed: 05/06/20 Page: 1 of 2 PAGEID #: 1223



                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION

United States of America

     v.                                    Case No. 2:97-cr-167-6

Michael Lee Gordon

                               OPINION AND ORDER
     On April 3, 2020, defendant filed a motion for reduction is
sentence pursuant 18 U.S.C. §3582(c)(1)(A)(i) based on alleged
extraordinary and compelling circumstances.            On April 15, 2020, the
defendant’s    motion    was   denied   due   to    his     failure     to   exhaust
administrative remedies as required under §3582(c)(1)(A).                    On May
5, 2020, defendant filed an amended supplemental motion for relief
under   §3582(c)(1)(A)(i),       arguing   the     merits    of   his    request.
However, defendant still does not allege that he has exhausted his
administrative remedies, nor has he presented any proof of such
exhaustion.
     Before the defendant can file a motion for reduction in
sentence for “extraordinary and compelling reasons” under that
section in the district court, the defendant must first ask the
warden to file a motion for a reduction in sentence on his behalf.
If that request is denied           by the warden within thirty days,
defendant must exhaust all administrative appeals before filing a
motion in district court.         If, on the other hand, the defendant
presents his request to the warden and receives no response within
thirty days, he may then file a motion in the district court.                    See
United States v. Daniels, No. 4:08-CR-0464-SLB, 2020 WL                 1938973 at
*2-3 (N.D. Ala. Apr. 22, 2020); Guzman v. United States, No. 2:10-
CR-161, 2019 WL 1966106, at *2 (E.D.Tenn. May 2, 2019).                         The
exhaustion requirement contained in §3582(c)(1)(A) is jurisdictional
Case: 2:97-cr-00167-JLG-EPD Doc #: 547 Filed: 05/06/20 Page: 2 of 2 PAGEID #: 1224



and cannot be waived.       See, e.g., United States v. Raia,               F.3d
   , 2020 WL 1647922, at *2 (3d Cir. Apr. 2, 2020); United States
v. Dickson, No. 1:19-cr-251-17, 2020 WL 1904058, at *2-3 (N.D. Ohio
Apr. 17, 2020); United States v. Alam, No. 15-20351, 2020 WL
1703881, at *2 (E.D. Mich. Apr. 8, 2020).
     Defendant      does   not    allege     that    he   has   exhausted    his
administrative remedies.           The amended supplemental motion for
reduction in sentence is denied without prejudice due to defendant’s
failure to exhaust her administrative remedies.                 The court will
address   the    merits    of   defendant’s    argument    after    he   submits
sufficient      evidence   to    establish    that   he   has   exhausted    his
administrative remedies.


Date: May 6, 2020                            S/James L. Graham
                                      James L. Graham
                                      United States District Judge




                                       2
